      CASE 0:18-cv-01201-NEB-DTS Document 26 Filed 09/14/18 Page 1 of 1




                              STATE OF MINNESOTA
                                    OFFICE OF THE ATTORNEY GENERAL                                          SUITE 900
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                                                                                                            ST. PAUL, MN 55101-2127
                                                 September 14, 2018                                         TELEPHONE: (651) 297-1075
The Honorable David T. Schultz
Magistrate Judge, U.S. District Court
9E U.S. Courthouse
300 South Fourth Street
Minneapolis MN 55415

       Re:     Terry Richards v. Tom Roy, et al.
               Civil File No. 18-cv-1201 (JNE/DTS)

Dear Judge Schultz:

       As you are aware, I represent Defendants Roy, Halvorson, Karow, Larson, Ohnstad,
Thomson, and Paulson, employees of the Minnesota Department of Corrections (“DOC”), in this
matter. I write regarding the Court’s unsuccessful attempt to send Plaintiff its August 30, 2018
Order (ECF 25).

        On August 2, 2018, I met and conferred with Plaintiff, who is pro se in this matter and no
longer incarcerated. I informed Plaintiff that the DOC did not have a current mailing address for
him as his prior mailing address listed with the Court was at the Minnesota Correctional Facility
–Stillwater (“MCF-STW”) and was no longer valid. At that time Plaintiff informed me that his
current mailing address is as follows:

Terry Richards
1420 N.W. 4th Street No. 123
Grand Rapids, MN 55744

Plaintiff further informed me that he would like service accomplished at this address. I informed
Plaintiff that I would serve the DOC’s motion at the address provided, but it was incumbent on
him to inform the Court of his change of address. It appears Plaintiff has not updated his address
with the Court.

                                                            Sincerely,
                                                            s/ Steven R. Forrest
                                                            STEVEN R. FORREST
                                                            Assistant Attorney General
                                                            (651) 757-1345 (Voice)
                                                            Attorney for Defendants Roy, Halvorson, Karow,
                                                            Larson, Ohnstad, Thomson, and Paulson
cc:    Terry Richards

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